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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SHELBY TYRONE CLARK, JR.,               :
     Plaintiff,                         :
                                        :
               V.                       :      Case No. 5:21-cv-3674-JDW
                                        :
CLINTON WOMBOLD,                        :
     Defendant.                         :

                                        ORDER

      AND NOW, this 20th day of October, 2021, upon consideration of Plaintiff

Shelby Tyrone Clark, Jr.’s Amended Complaint (ECF No. 7), it is ORDERED that:

      1.       The Amended Complaint is DISMISSED IN PART pursuant to 28 U.S.C.

§ 1915(e)(2)(B), for the reasons stated in the accompanying Memorandum as

follows:

               a.    Mr. Clarks’s official capacity claim against Defendant Clinton

Wombold is DISMISSED WITHOUT PREJUDICE.

               b.    Mr. Clark’s equal protection claim is DISMISSED WITH

PREJUDICE; and

               c.    All claims asserting deliberate indifference to Mr. Clark’s

medical needs against Defendant Clinton Wombold are DISMISSED WITHOUT

PREJUDICE;

      2.       The Clerk of Court shall AMEND the caption of this case to list Clinton

Wombold as the named Defendant;
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      3.       The Clerk of Court is specially appointed to serve written waiver

requests on the Defendant, pursuant to Federal Rule of Civil Procedure 4(d), to

effect waiver of service, so that Mr. Clark may proceed on his constitutional and

related state law claims based on serving Mr. Clark tainted food, and the failure

to protect claim. The waiver of service requests shall be accompanied by a

copy of the Complaint and a copy of this Order and the accompanying

Memorandum, and shall inform the Defendant of the consequences of

compliance and failure to comply with the requests. The requests shall allow the

Defendant at least 30 days from the date they are sent (60 days if addressed

outside any judicial district of the United States) to return the signed waivers. If a

signed waiver is not returned within the time limit given, the Clerk of Court shall

issue summonses and transmit the summonses and a copy of the Complaint,

along with a copy of this Order and accompanying Memorandum, to the U.S.

Marshals Service for immediate service;

      4.       All original pleadings and other papers submitted for consideration

to the Court in this case are to be filed with the Clerk of Court. Copies of papers

filed in this Court are to be served upon counsel for all other parties (or directly

on any party acting pro se). Service may be made by mail. Proof that service

has been made is provided by a certificate of service. The certificate of service

should be filed in the case along with the original papers and should show the

day and manner of service. An example of a certificate of service by mail

follows:


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                 “I, (name), do hereby certify that a true and
                 correct copy of the foregoing (name of
                 pleading or other paper) has been served
                 upon (name(s) of person(s) served) by placing
                 the same in the U.S. mail, properly addressed,
                 this (day) of (month), (year).
                  ____________________________________
                    (Signature)”

      5.     Any request for court action shall be set forth in a motion, properly

filed and served. The parties shall file all motions, including proof of service upon

opposing parties, with the Clerk of Court. The Federal Rules of Civil Procedure

and Local Rules are to be followed. Mr. Clark is specifically directed to comply

with Local Civil Rule 7.1 and serve and file a proper response to all motions within

fourteen (14) days. Failure to do so may result in dismissal;

      6.     Mr. Clark is specifically directed to comply with Local Rule 26.1(f)

which provides that “[n]o motion or other application pursuant to the Federal

Rules of Civil Procedure governing discovery or pursuant to this rule shall be

made unless it contains a certification of counsel that the parties, after

reasonable effort, are unable to resolve the dispute.” Mr. Clark shall attempt to

resolve any discovery disputes by contacting Defendants’ counsel directly by

telephone or through correspondence;

      7.     No direct communication is to take place with the United States

District Judge or United States Magistrate Judge with regard to this case. All

relevant information and papers are to be directed to the Clerk of Court;




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      8.    In the event a summons is returned unexecuted, it is Mr. Clark’s

responsibility to ask the Clerk of Court to issue an alias summons and to provide

the Clerk with the Defendant’s correct address, so service can be made; and

      9.    The parties should notify the Clerk’s Office when there is an address

change. Failure to do so could result in court orders or other information not

being timely delivered, which could affect the parties’ legal rights.

                                      BY THE COURT:


                                      /s/ Joshua D. Wolson
                                      JOSHUA D. WOLSON, J.




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